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                                                                                                      '-V'-'!
                                                                                     . .1 :.. •   •


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                             ^   /         -
                              SAVANNAH DIVISION




 UNITED STATES OF AMERICA,

               Plaintiff,                       CRIMINAL ACTION NO.: 4:I9crl5-2


        V.



JOVONN BRISBON,

               Defendant.




                                        ORDER


       This matter is before the Court on the Motion for Leave of Absence by Joe Cronk,

counsel for Defendant, for the dates of November 15, 2019 through November 19,2019.

(Doc. 112.) After careful consideration, said Motion is GRANTED.


      SO ORDERED       ,this^^^44a-y of August,2019.

                                                   IRISTOPHER L. RA'
                                                  MAGISTRATE JUDGE
                                                  SOUTHERN DISTRICT OF GEORGIA
